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Sheet I - Amended Judgment in a Criminal Case with Supervised Release (Rev. 212005)



                                        United States District Court
                                                              District of Maryland
            UNITED          STATES        OF AMERICA                             AMENDED JUDGMENT                     IN A CRIMINAL    CASE
                                                                                 (For Offenses Committed on or After November 1, 1987)
                                                                                 Case Number: RWT 8:04-cr-0235-009
                                   v.
                                                                                 USM Number: 38360-037
                                                                                 Defendant's Attorney: Peter Ward, Esq.(CJA)
                              Lavon Dobie
                                                                                 Assistant U.S. Attorney:       Deborah Johnston, Esq. and
                                                                                 Bonnie Greenberg, Esq.
                                                                                 Date of Original Judgment: December 19, 2006
                                                                                 (or date of last amended judgment)

Reason for Amendment:
D Correction of Sentence on Remand
D Reduction of Sentence for Changed Circumstances (Fed.R.Crim.P.35(b))
D Correction of Sentence by Sentencing Court (Fed.R.Crim.P.35(a))
IX] Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)
D Modification of Supervision Conditions (18 U.S.C. S 3563(c) or 3583(e))
D Modification ofImposed Term ofImprisonment         for Extraordinary and
    Compelling Reasons (18U.S.C. S 3582(c)(1))
D Modification ofImposed Term ofImprisonment for Retroactive Amendment(s)
    to the Sentencing Guidelines (18 U.S.C. S 3582(c)(2))
D Direct Motion to District Court Pursuant to:                                                            2010
    D 28 U.S.C. S 2255;
    D 18 U.S.c. S 3559(c)(7); or                                                         CLERK ~T OREENOEL T
                                                                                           DISTR/~Tg~t.tT~ICT
    D Modification of Restitution Order                                            BY
                                                                                                            COull1
                                                                                                        ~RYlAND
D Order of Court                                                                                                   DEPUTY

THE DEFENDANT:
D pleaded guilty to count(s) __        '
D pleaded nolo contendere to count(s)              , which was accepted by the court.
IX] was found guilty on count(s) 1, 34,47,50,53,57 & 61 of the Fifth Superseding Indictment after a plea of not guilty.
                                                                                  Date                        Count
       Title & Section                                     Nature of Offense                             Offense Concluded                Number(s)
          21 U.S.C. 846                 Conspiracy to distribute and Possess with Intent to Di~ribute            06/01/04                           I
                                                            Controlled Substances
         21 U.S.c. 843(b)                 Use of a Communications Device to Facilitate Narcotics                 05/18/04             34,47,50,53       & 57
                                                                 Trafficking
          18 U.S.C. 924 (c)                                                                                      06/01/04                       61
                                        Possession of a firearm in Furtherance of a Drug Trafficking
                                                                   Crime
     The defendant is adjudged guilty of the offense(s) listed above and sentenced as provided in pages 2 through
    6      of this judgment.  The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as modified
by U.S. v. Booker, 125 S. Ct. 738 (2005).
D The defendant has been found not guilty on count(s)              _
[Xl The Original, First, Second, Third and Fourth Superseding Indictment as to this defendant only are dismissed on the
     motion of the United States.
     IT IS FURTHER         ORDERED      that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.
                                                         November 19,2010
                                                        Date of Imposition of Judgment


                                                                          ~
                                                                                                                             (Yea       mkc 7 zcltJ     (Date
                                                                              UNITED STATES DISTRICT JUDGE
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Sheet 2 - Amended Judgment in a Criminal Case with Supervised Release (Rev. 2/2005)
DEFENDANT:          Lavon Dobie                                                               CASE NUMBER:      RWT   8:04-cr-0235-009



                                                               IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 146 months as to count 1; 48 months as to each of counts 34, 47, 50, 53 and 57 concurrent
to count 1 and 60 months as to count 61 consecutive to all other counts for a total of 206 months.

D The court makes the following recommendations to the Bureau of Prisons:



[X] The defendant is remanded to the custody of the United States Marshal.

D The defendant shall surrender to the United States Marshal for this district:

    D at          a.m./p.m. on       _
    D as notified by the United States Marshal.

D The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of
    Prisons at the date and time specified in a written notice to be sent to the defendant by the United States
    Marshal. If the defendant does not receive such a written notice, defendant shall surrender to the United
    States Marshal:

    D before 2 p.m. on                     _
    D

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.
                                                                      RETURN

I have executed this judgment as follows:


    Defendant delivered on                        to             at             , with a certified copy of this judgment.




                                                                          UNITED STATES MARSHAL

                                                               By:
                                                                          DEPUTY U.S. MARSHAL
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Sheet 3 - Amended Judgment in a Criminal Case with Supervised Release (Rev. 212005)
DEFENDANT:         Lavon Dobie                                                               CASE NUMBER:   RWT   8:04-cr-0235-009



                                                        SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years as
to each of counts 1 and 61 and one (1) year as to each of counts 34, 47, 50, 53 and 57. All counts are concurrent.

The defendant shall comply with all of the following conditions:

   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                             A.      STATUTORY              CONDITIONS                OF SUPERVISED   RELEASE

     1) The defendant shall not commit any federal, state or local crime.
     2) In any felony case, the defendant shall not possess a firearm or ammunition as defined in 18 U.S.C.
S92l.
     3) The defendant shall not illegally use or possess a controlled substance.
     4) The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as directed by the probation officer.
     D The above drug testing condition is suspended based on the court's determination that the
         defendant poses a low risk of future substance abuse. (Check, if applicable.)
     5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of
2004, if applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau of
Prisons, or as directed by the probation officer.
     6) If this judgment imposes any criminal monetary penalty, including special assessment, fine, or
restitution, it shall be a condition of supervised release that the defendant pay any such monetary penalty that
remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment. The defendant shall notify the
court of any material change in the defendant's economic circumstances that might affect the defendant's ability
to pay restitution, fines, or special assessments.

                               B.       STANDARD CONDITIONS OF SUPERVISION
I)   The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)   The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
     of each month;
3) The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) The defendant shall support his or her dependents and meet other family responsibilities;
5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
     acceptable reasons;
6) The defendant shall notifY the probation officer ten days prior to any change in residence or employment;
7) The defendant shall refrain from excessive use of alcohol;
8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
     convicted of a felony unless granted permission to do so by the probation officer;
10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in plain view of the probation officer;
I I) The defendant shall notifY the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12) The defendant shall notifY the probation officer within 72 hours of being charged with any offense, including a traffic offense;
13) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
     permission of the court;
14) As directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendants's
     criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
     confirm the defendant's compliance with such notification requirement.
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Sheet 3.01 - Amended Judgment in a Criminal Case with Supervised Release (Rev. 212005)
DEFENDANT:          Lavon Dobie                                                          CASE NUMBER:   RWT   8:04-cr-0235-009




                                                    C. SUPERVISED RELEASE
                                                    ADDITIONAL CONDITIONS



1. The defendant shall satisfactorily participate in a treatment program approved by the probation officer relating to
substance and/or alcohol abuse, which may include evaluation, counseling, and testing as deemed necessary by the
probation officer.

2. The defendant shall provide the probation officer with access to any requested financial information.

3. The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation
officer.


4. The defendant shall pay the special assessment ($700) as imposed herein.
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Sheet 5 Part A - Amended Judgment in a Criminal Case with Supervised Release (Rev. 2/2005)
DEFENDANT:          Lavon Dobie                                                                           CASE NUMBER:       RWT      8:04-cr-0235-009

                                                  CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5B.


                        Assessment                                                                                      Restitution
 TOTALS              $ 700.00                                                     $                                 $
 D CVB Processing Fee $25.00
                                                                                  . An Amended Judgment in a Criminal Case (AO 245C) will be
 D The determination       of restitution       is deferred   until       _
                                                                                  entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. ~ 3664(i), all nonfederal
      victims must be paid before the United States is paid.
 Name of Payee                                        Total Loss*                           Restitution   Ordered                Priority   or Percentage
                                                                              o                                     o




 TOTALS                                     $                                 o         $                           o

 D     Restitution amount ordered pursuant to plea agreement                                                 _

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.c. ~ 3612(t). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.c. ~ 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for                          D fine       D restitution.
       D the interest requirement for                         D   fine    D restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters                            109A, 110, 1lOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
                     Case 8:04-cr-00235-DKC Document 1430 Filed 12/10/10 Page 6 of 8 Judgment Page 6 of 6
Sheet 5 Part B - Amended Judgment in a Criminal Case with Supervised Release (Rev. 2/2005)

DEFENDANT:          Lavon Dobie                                                                       CASE NUMBER:        RWT 8:04-Cf-
                                                                                                      0235-009

                                                     SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      [Xl In full immediately; or
B      D $              immediately, balance due (in accordance with C, D, or E); or

C      D Not later than               ; or

D      D Installments to commence                     day(s) after the date of this judgment.

E      D In            (e.g. equal weekly, monthly, quarterly) installments of$                  over a period of          year(s) to commence
           when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

      D in equal monthly installments during the term of supervision; or
      D on a nominal payment schedule of $                       per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:
D Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




D The defendant shall pay the cost of prosecution.
D The defendant shall pay the following court cost(s):
[Xl The defendant shall forfeit the defendant's interest in the following property to the United States: (See Attached Forfeiture
Order)
           Case 8:04-cr-00235-DKC Document 1430 Filed 12/10/10 Page 7 of 8


                                                                      ___          ,FIlED    __    .JooE,NTERED

                     IN THE UNITED         STATES DISTRICT        CO-UR-T--,lOOG£D
                                                                             __    F£C£IVED
                              FOR THE DISTRICT     OF MARYLAND                  JUN 1 4 2007
                                                                                 AT afllEENBELT
                                                                            CLERK U.S, DISTRICT COURT
UNITED    STATES OF AMERICA                                                  '...••
                                                                                 STRICT OF MtlRYL..ANO
                                                                             ••.• ....                   DEPUTY
                                                                  W
              v.                                   CRIMINAL NO.               RWT-04-0235

PAULETTE MARTIN.
LEARLY GOODWIN,
LANORA ALI,
DEREK BYNUM,
               Defendants.
                                        . .00000   ..


                                   ORDER OF FORFEITURE

              After       a review    of the government's               Motion              for a Final

Order of Forfeiture and the pertinent                    record, it is this ~                               day

of June 2007 ORDERED,             ADJUDGED,    AND DECREED        as follows:

              1.         The following specified assets are condemned and all

 rights,    title, and interests            of Paulette         Martin,          Learly           Goodwin,

 Lanora    Ali     and    Derek   Bynum,    and    any    and    all        other           persons          are

 HEREBY FORFEITED to the United States:

                         a. $26,352.17 U.s. Currency              from Pacific                    Life
                         Insurance (Paulette Martin);

                         b. Fidelity Advisor Fund, check number '954292 in
                         the amount of $38.259.42 (Paulette Martin);

                         c. $64,176 U.s. Currency            from Chevy Chase Bank
                         (Paulette Martin);

                         d. $6,241 U.s. Currency            from Chevy Chase                      Bank
                         (Paulette Martin);

                         e. $15,479 U.S. Currency               from Chevy Chase                   Bank
                         (Paulette Martin);

                         f. $30,951 U.S. Currency, from Chevy Chase Bank
                         (Paulette Martin & Learly Goodwin);

                         g.    $19,150.51     U.s. Currency        from Suntrust                   Bank



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                                                                             ..••..   ~ .••••   - ~- .. ~ .. ~.~,,".-   ...• ~ .• '.~,   -_ •.• ,.,-.,->.   "'.'>, .•.••~, .•.. , .. , ••. ~.   '..•.....•
                                                                                                                                                                                                        -..,:. ... -~




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:




                   (Paulette Martin);

                   h. $185,150.74 U.S. Currency,            from Bank o~_America
                   (Paulette Martin);

                   i. $10.234.85 U.S. Currency            from Suntrust                         Bank
                   (Paulette Martin);

                   j. $15,892.39 U.S. Currency            from Bank of America
                   (Paulette Martin);

                   k. $126,000 U.S. Currency from Suburban                            Federal
                   Savings Bank (Paulette Martin);

                   1. $15,600 U.S. Currency from Paula's                    School of
                   Performing Arts (Paulette Martin);

                   m. One 2002 Mercedes SLK230,
                   VIN #WDBKK49F02F615323 (Paulette Aduffo,                           a/k/a
                    (Paulette Martin);

                    n. $7,865 u.S. Currency         seized on June 1, 2004
                    (Paulette Martin);

                    o   $14,905   U.S. Currency         (Derrek Bynum);


                    p. $129,700 U.S. Currency           seized June 1, 2004
                   (Lanora Ali);

                    q. $8,160,000   as to Paulette Martin;

                    r. $4,560,000   as to Learly Goodwin;

                    s. $122,500   as to Derek Bynum:


              2.   The Department    of Homeland        Security      is directed                                                                to

    dispose the above-described     property      in accordance       with law.

              3.    The clerk of the court shall provide               copies of this
    order to counsel of record.             /,/-_.-._
                                                  .....
                                                    _..,~~._---~

                                      ~\>//L'                                               ~
                                        Rog e r    W.   rJ,"tfu ---------
                                        United States          District               Judge


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